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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Ronald Martin Wilson                                                                     Case No.
                                                                                   Debtor(s)         Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: March 11, 2019                                                   /s/ Ronald Martin Wilson
                                                                        Ronald Martin Wilson
                                                                        Signature of Debtor




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